     Case: 3:17-cv-00603-wmc Document #: 115 Filed: 10/21/20 Page 1 of 1




                               APPENDIX OF FORMS TO FEDER4.
                               RULES OF APPELLATE PROCED   70 OCT 21
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                                   FORM I.                          •FhC-/,'
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                    NOTICE OF APPEAL TO A COURT OF APPEALSC OF': %If
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                 FROM A JUDGMENT OR ORDER OF A DISTRICT COURT

                United States District Court for the Western District of Wisconsin


A. B., LEVi             SIN                                   File Number (1-      eg-
               Plaintiff(s),
                                                                         Notice of Appeal
       v.                                         -Zramie 4,0Cet,     flOshA Ariar?../ocn, 0,45511.Tholioe)
      CLolotAbiG. (fse,'R                                    VA‘sizw.us i           vlodz,& I Lau-pie wood,
C.D.,t-keAlth                                     miclet        ianitito Locc4,43 to g...10 tiE
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               Defendant(s)      EV_ ta \ . .                             -n , trAvm  wAttai raienet-51w1/5*.
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Notice is hereby given that (here name all parties aking the appeal 0 (defendants) in the
above named case, * hereby appeal to the United States Court of Appea s for the
            4- Th        Circuit       the final judgmerafrom an order (describing it)) entered
in this action on the tR_ day of                       ,
                                                                                                             42,2--114/DS
                                                                    cipc, 6P                      -\•-ku&-c,ct,
                                                             Attorney for
                                                             Address:

* See Rule 3(c) for permissible ways of identifying appellants.         N).‘k) litbcr) &viz •rn51-•
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